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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

        Plaintiff,

v.                                           Case No. 21-cr-40/TNM

TRISTAN CHANDLER STEVENS,

       Defendant.
______________________________/

                                     ORDER

      Upon consideration of the Motion to Adopt and Join Motion Filed by Co-

Defendant, and finding good cause shown, it is hereby

      ORDERED that the motion is granted.



                                _________________________________________
                                THE HONORABLE TREVOR N. MCFADDEN
                                UNITED STATES DISTRICT JUDGE
